Case 2:04-cr-20395-SH|\/| Document 17 Filed 06/13/05 Page 1 of 2 Page|D 19

IN THE UNITED sTATEs DISTRICT coURT HMIJE¥L&;Z~DC.
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

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UNITED sTATES oF AMERICA, ) §D'§§'§ §§§ WS
)
Piaintiff, )
)
vs. ) CR. NO. 04-20395~Ma
)
MICHAEL GREEN, )
)
Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fronl May 31, 2005 through July l5, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

:SK

IT IS SO ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
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Honorable Samuel Mays
US DISTRICT COURT

